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            EXHIBIT 1
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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 FEDERAL TRADE COMMISSION and
 THE PEOPLE OF THE STATE OF NEW                         Case No. 1:17-cv-00124-LLS
 YORK, by LETITIA JAMES,

 Attorney General of the State of New York,             PRETRIAL DECLARATION OF
                                                        DEFENDANTS’ EXPERT WITNESS
                                Plaintiffs,             DAVID GORTLER. Pharm.D.

                        v.

 QUINCY BIOSCIENCE HOLDING
 COMPANY, INC., a corporation;

 QUINCY BIOSCIENCE, LLC, a limited
 liability company;

 PREVAGEN, INC., a corporation d/b/a
 SUGAR RIVER SUPPLEMENTS;

 QUINCY BIOSCIENCE
 MANUFACTURING, LLC, a limited
 liability company;

 MARK UNDERWOOD, individually and as
 an officer of QUINCY BIOSCIENCE
 HOLDING COMPANY, INC., QUINCY
 BIOSCIENCE, LLC, and PREVAGEN,
 INC.; and

                                Defendants.

       I, David Gortler, hereby state and declare as follows:

       1.      I have been retained by Defendants Quincy Bioscience Holding Company, Inc.,

Quincy Bioscience, LLC, Prevagen, Inc., Quincy Bioscience Manufacturing, LLC, and Mark

Underwood (collectively, “Defendants”) in the above-referenced matter. I submit this declaration

in accordance with Rule 4.A(4) of the Individual Practices of Judge Louis L. Stanton to summarize

the opinions set forth in my expert report and those that I intended to testify about at trial.
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Education and Professional Background

       2.      I was trained as both a pharmacist and a pharmacologist and have over 20 years of

experience in drug development including over 15 years of experience in pedagogy as a didactic

professor of drug development, drug safety, Food and Drug Administration (FDA) regulatory

affairs, and clinical and non-clinical pharmacology.

       3.      I received my Doctor of Pharmacy from the University of Arizona, College of

Pharmacy in 1998. From 1998-1999, I was a postdoctoral general practice resident with the

Columbia Presbyterian Hospital. During that time, I lectured as an assistant instructor at The

Rutgers College of Pharmacy. From 1999-2002, I did a Vascular and Cardiovascular Medicine

postdoctoral fellowship in the Department of Surgery at the Yale School of Medicine. While I

was a Post-Doctoral Research Fellow at Yale, my duties included both clinical trial enrollment and

monitoring duties and as that of a basic science bench research scientist in a molecular and cellular

biology “wet” research laboratory where I conducted in vitro and in vivo biological experiments,

including designing and conducting basic science research projects in both pharmacology and

molecular biology and novel research experiments exploring original cellular signaling pathways

which had the potential to be modulated via pharmacology. My research has been published in

prominent basic science and clinical, peer-reviewed journals. I was additionally responsible for

screening and enrolling patients at The Yale-New Haven Hospital into multiple investigational

medicine trials and working closely with the investigational drug service of the Yale-New Haven

Hospital.

       4.      From 2002 to 2005, I was employed by Pfizer Inc. as an Investigational Medicine

Research Scientist and clinical trial supervisor, where I was involved in the clinical research

aspects of drug development and was responsible for designing, implementing and managing the

timelines of state-of-the-art clinical pharmacology studies for multiple early and late development
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compounds. I personally designed, composed investigational medicine study protocols and study

reports for drug safety studies, drug efficacy studies, animal studies, proof-of-concept studies,

first-in-human studies, multiple dose studies, food effect studies, dose-escalation studies, drug

interaction studies, drug safety studies and bioequivalence studies.

       5.      From 2004-2008, I was an assistant professor at The Yale University School of

Medicine, teaching clinical pharmacology courses to medical students and pharmacology PhD

candidates.

       6.      From 2007-2011, I served at the Food and Drug Administration (“FDA”) as a

Medical Officer in the Office of Drug Evaluation in the Office of New Drugs. I was the lead

clinical reviewer responsible for various safety and efficacy analyses of clinical study proposals,

reports, product labeling, New Drug Applications, clinical study protocols and clinical protocol

amendments. I also provided expert guidance on drug labeling and the design process by which

new drugs are evaluated and become approved for marketing in the United States. I also evaluated

new compounds, New Drug Applications, (NDAs) drug application supplements, drug labeling

and pre-clinical applications based on FDA guidance documents and the Code of Federal

Regulations (CFR) and was directly responsible for evaluating the safety and efficacy of drugs

both in pre-clinical development and in marketed products.

       7.      From 2009 to 2014, I was an associate professor at The Georgetown University

School of Medicine and served as a didactic professor of pharmacology.

       8.      From 2015 to 2020, I conceptualized and founded the world’s first “analytical

pharmacy” tasked with performing independent quality control testing of finished drug product

pharmaceuticals.




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       9.      From    2020   to   2021,   I   returned   to   the   FDA    and   was    the    first

pharmacist/pharmacologist to be appointed to serve on the FDA senior executive leadership team,

or as senior advisor to the FDA commissioner. During this time, I advised the FDA Commissioner

and other members of the FDA Senior Executive Leadership Team on scientific matters including

drug and device safety, FDA policy and FDA regulatory affairs, wrote opinion articles, policy

recommendations, and composed and spearheaded multiple Presidential Executive Orders at the

White House, and spearheaded multiple critical public health initiatives.

       10.     Since early 2021, I have held the title of “Scholar” at the Ethics and Public Policy

Center (EPPC) in Washington, DC where I run the FDA section of EPPC's HHS Oversight and

Accountability Project. I regularly opine and write articles relating to matters of public health,

pharmacology, drug safety, healthcare policy and FDA policy and regulatory affairs.

       11.     Throughout my career, I have participated extensively at every level, and in

virtually every aspect of drug development. I have authored or co-authored over 60 scientific

publications, papers, articles, reviews, clinical protocols and reports and have been interviewed

and/or quoted over 100 times by the lay press and news reporters as a recognized authority on

pharmacology, drug safety, FDA policy and FDA regulatory affairs.

Summary of Testimony

       12.     As detailed in my rebuttal expert report dated July 15, 2021, it is my opinion that

the report and opinions of Plaintiffs’ expert, Jeremy Mark Berg, Ph.D., are fundamentally flawed

as they relate to pharmacology; likely because he is not a pharmacologist. It is my expert opinion

that Dr. Berg makes factual assertions that are contrary to known pharmacological principles.

       A.      Basic Pharmacology Concepts and Mechanism of Action

       13.     As set forth in my rebuttal report, some basic principles of pharmacology are

necessary to address Dr. Berg’s statements. First, receptor theory relates to interactions between
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a drug and/or supplement and receptors. Most, but not all, drugs and supplements exert their

effects on the body by interacting with receptors or target macromolecules present on the cell

surface, but there are an unknown number of targets drugs and/or supplements may have, which

include, but it not limited to, enzymes, voltage-gated channels, and transport proteins.

       14.     Second, in pharmacological terms, mechanism of action means the specific

biochemical effect through which a drug or supplement produces an effect. However, a fully

revealed mechanism of action is not required to market dietary supplements like Prevagen®. FDA

approval is not required for dietary supplements. In fact, possessing a fully elucidated mechanism

of action of a drug is not even necessary to obtain FDA approval for dietary supplements or drugs.

Today, there are many drugs and supplements for which the mechanism of actions are unknown

or not fully elucidated, including aspirin, acetaminophen, ibuprofen, diphenhydramine, and well

as many of the common drugs used as antidepressants.

       B.      Dr. Berg’s Report Lacks a Full Understanding of Drug Metabolism and

       Receptor/Ligand Pharmacology

       15.     Dr. Berg’s report adopts an overly simplified mechanism of action theory when he

states that “To have a direct effect on brain cells, the active ingredient in Prevagen would need to

be absorbed into the bloodstream and cross into the brain.” (Berg ¶ 8.) This is simply not accurate.

Dr. Berg fails to consider the very fundamental possibility that metabolized components of

Prevagen may be either (1) actively transported; or (2) react with receptors either in the stomach

or elsewhere in the mucous membranes GI tract; or (3) elicit a pharmacological signaling cascade

from within the stomach; or (4) the possibility that Prevagen does not traditionally act on specific

receptors targets at all. Dr. Berg also fails to consider the possibilities that one or more of the

individual metabolized components of Prevagen could eventually be transported or absorbed and



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interact with receptors in the form of a prodrug or that the mechanism of action of Prevagen could

have a multitude of other effects depending on exactly how the molecule is broken up.

        C.      Prodrugs

        16.     Dr. Berg also fails to consider the possibility that metabolized components of

Prevagen can be activated into pharmacologically active moieties, such that it would meet the

definition of a prodrug. Prodrugs are compounds that are inactive in their parent form but

following metabolization are chemically transformed into an active drug.           Such drugs and

supplements need to undergo an enzymatic and/or chemical transformation in vivo to be activated

and subsequently have a pharmacological effect. Prodrugs have been known to exist in the natural

form for around 100 years, even in compounds which have not been intentionally designed as

prodrugs.

        17.     My rebuttal report provides many of examples of prescription prodrugs currently

in use. Indeed, practically every therapeutic category has at least one compound in its class that is

a prodrug, including: analgesia, heart disease, anti-infectives, antipyretics, GERD, cancer

treatment, blood pressure treatment and high cholesterol treatment. Moreover, many known

homeopathic compounds naturally exist in the prodrug form.

        D.      Prodrugs and Large Molecule Pharmacology

        18.     Both naturally found and prospectively designed prodrugs may be larger molecules

which have the ability to have better absorption, improved delivery or superior efficacy. They exist

in an inactive form, and following an enzymatic or other chemical process, are designed to break

down inside the body into an active form. This may occur in almost any part of the body, as well

as intracellularly or extracellularly.




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       19.     For example, as discussed in my report, the tissue or location of prodrug conversion

may occur in metabolic tissues, therapeutic target tissues/cells, GI fluids, and/or systemic

circulation and other extracellular fluid compartments.        Dr. Berg’s failure to consider this

possibility underscores his misunderstanding of an important area of pharmacology.

       E.      Pharmacogenetics/ Pharmacogenomics

       20.     Pharmacogenetics / Pharmacogenomics (used interchangeably) have been defined

as the study of variability in response due to one’s specific individual genetic disposition. Genetic

variations in human beings may lead to variations in response to food, drugs, or dietary

supplements. Thus, pharmacogenomics is viewed as an emerging and critical specialty of its own,

and an obviously highly important area for improving drug therapy and prescribing in the future.

       21.     However, Dr. Berg’s report illustrates a perceptibly naïve, outdated, and in my

opinion, fundamentally incorrect, non-FDA-regulatory level of consideration regarding

absorption, distribution, metabolism and excretion. His approach and analysis appears to follow

“a one hypothesis fits all” meaning whereby only one modeling methodology will or will not work

the same way on everyone, but this ignores very basic and widely accepted and proven

pharmacological as well as pharmacogenomic concepts and data that support therapeutic

management associations as well as variations in metabolism and drug response.

       F.      Molecule Size

       22.     Dr. Berg states that “Proteins, in contrast, generally cannot survive digestion in the

stomach intact” and cites the larger size of apoaequorin as a factor for its rapid deterioration in the

stomach. (Berg ¶¶ 17-18.). However, Dr. Berg fails to consider both the fact that it may be possible

for proteins and biologics even larger than apoaequorin to survive the gastric conditions of the

stomach and that clinical research has shown us that many larger, complex things -- including



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complex biological organisms -- have the potential to survive the enzymatic and chemical

conditions in the human stomach.

        23.     In fact, Dr. Berg’s incorrect assertions about the destruction of any ‘large protein

structure’ within the gut is reminiscent of the clinical conflicts that delayed the identification of

Helicobacter pylori (“H. Pylori”) in 1983. For nearly a century prior, it was incorrectly assumed

that the extremely low pH conditions in the stomach made the stomach a “sterile” environment

where it was impossible for anything to survive, and that the stomach enzymatically or chemically

broken down and/or otherwise inactivated anything that came within its contact. In addition to H.

Pylori, large microorganisms that are not digested in the stomach can actually survive and thrive

in the stomach, including but not limited to Escherichia Coli, Listeria monocytogenes, Salmonella,

Campylobacter, and Clostridium difficile. There are also many viral sources of gastrointestinal

causes of infectious diseases including classes of the norovirus, rotavirus, and astrovirus.

        24.     Thus, Dr. Berg’s blanket assertion that Prevagen’s active ingredient cannot survive

digestion and could never have pharmacological activity in the body merely because of its size is

contrary to well-founded pharmacological and other scientific concepts.

        G.      Active Transport of Prevagen in the Gut and Blood-Brain Barrier

        25.     Active transport is the body’s ability to employ energy to forcibly move molecules

across a cell membrane from a region of lower concentration to a region of higher concentration,

against a concentration gradient. Active transport is a well-established cellular biology concept,

yet Dr. Berg expresses his disagreement with this established and scientifically proven concept.

        26.     Published data has shown that the dietary intake of apoaequorin together with

dietary cholesterol has the potential to “greatly facilitate” the uptake of intact protein from the gut.

Published, peer-reviewed modeling studies indicate that the presence of a CARC or CRAC motif



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in a protein usually indicates its intrinsic capability to interact with cholesterol. Notably, Prevagen

contains at least four of these separate and distinct cholesterol-binding sites to bind cholesterol

which can assist with active transport into the blood stream or into the brain. Although, the

mechanism of action of Prevagen is unknown, published findings state that cholesterol binding

may facilitate Prevagen’s uptake across the blood-brain barrier and/or entry into cells of the

hippocampus where it is known to elicit a clinical effect through its effect on calcium signaling.

That further suggests that the apoaequorin/cholesterol complex may be taken up by hippocampal

neurons and serve to facilitate memory consolidation.

          27.   Stated more simply, any dietary or circulating cholesterol could assist in actively

transporting Prevagen through the gut and into the brain. It is possible that either of these pathways

relating to the mechanism of action is worth exploring, but Dr. Berg’s categorical assertion that

Prevagen cannot work is unsupported by published scientific evidence.

          H.    Fundamental Concepts of Calcium Signaling and Memory

          28.   The role of calcium in neurological modalities is widely recognized by a great

abundance of scientific publications. Since calcium homeostasis dysfunction far precedes any

visible changes in brain volume, and calcium has a clearly established role throughout the

literature, it seems only reasonable to attempt to engineer a neuronal calcium-modulating drug to

affect downstream cell maintenance and repair.

          29.   Calcium-binding compounds (like Prevagen) have been prominently recognized as

protective factors in neuronal populations susceptible to toxicity via calcium and calcium-mediated

events.

          I.    Memory Physiology




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       30.     One of the most troubling concomitants of aging for many individuals is the

impairment of learning and memory which often occurs even with “normal” aging. Neuronal

changes occur during aging and contribute to learning and memory deficits. This includes

calcium-mediated currents, as related to acquisition of hippocampus-dependent behavioral tasks

and to age.

       31.     I understand that Prevagen is a dietary supplement that is marketed to healthy adults

who have concerns about the normal aging process and its potential effect on memory and

cognitive functioning. This type of proactive, safe and low-cost therapeutic approach makes good

sense given that clinical data suggests that it is safe and does in fact provide benefits.

       J.      Non-Clinical (Animal) Studies

       32.     Based on in vitro and in vivo animal studies involving apoaequorin in addition to

other studies involving large proteins that bind calcium there is scientific potential to enhance

memory and cognitive function in humans via calcium binding. Controlled studies over a 32-day

period with apoaequorin in aged canines also demonstrated a statistically significant cognitive

enhancement. Moreover, pretreatment with apoaequorin specifically has been reported to protect

the rat brain slice hippocampal neurons from oxygen-glucose deprivation and has led to studies of

the effects of an oral supplement containing apoaequorin on verbal learning in older humans.

       K.      Memory and Calcium Signaling

       33.     One hypotheses for the cause of cognitive decline involve the dysregulation of

calcium in the hippocampus. Prevagen and/or its substrates and/or its metabolites may exert

pharmacological activity through calcium signaling binding sites. In terms of calcium binding

sites, cholesterol binding domains and pore lining regions -- the active ingredient in Prevagen

(apoaequorin) -- is very similar to calmodulin, (a intracellular multifunctional intermediate



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calcium-binding messenger protein) which plays a primary factor in memory consolidation.

Apoaequorin has been shown in preliminary laboratory study to decrease cell death due to

ischemia by 55% in aged hippocampal cells, ostensibly via calcium signaling, but possibly through

another mechanism.

       34.     Accordingly, various human, animal and basic science studies along with

Prevagen’s binding sites are indicative of Prevagen having a positive therapeutic utility in delaying

or modifying the decline, via calcium buffering or other mechanism, with regards to the cognitive

functioning associated with aging.

       L.      Madison Memory Study Clinical Proof of Concept

       35.     I have also reviewed and agree with the published findings of the Madison Memory

Study (MMS). There are no contradicting published clinical studies that I found during a thorough

search of Medline. The MMS clinical results demonstrate that Prevagen (apoaequorin 10mg) was

statistically significantly better than placebo at improving domains of cognitive function such as

learning and delayed recall after 90 days. For adults with memory concerns, Prevagen is a safe,

effective and well-tolerated supplement to help with cognitive function. These results suggest

adults just beginning to experience some memory lapses may benefit most from Prevagen.

                                         CONCLUSIONS

       36.      It is my expert scientific opinion, within a reasonable degree of scientific certainty,

that Dr. Berg’s opinion regarding the lack of evidence is contrary to a great abundance of

published, well-established and well-accepted scientific data, and that there exists competent and

reliable scientific evidence to support the Challenged Claims (as defined in my rebuttal report)

made regarding Prevagen.

       37.     Age-related memory loss has no convincing FDA-approved pharmacological cure.

Existing drug treatments are few and have only been minimally and/or temporarily effective. The
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dietary supplement Prevagen appears to be able to be safely administered by the lay public at its

recommended doses. Prevagen should be permitted to continue being sold as-is as a nutritional

supplement based on its existing in vivo and in vitro findings.

       38.      Prevagen’s potential efficacy, coupled with the published positive statistically

significant clinical and non-clinical results, and an entirely plausible pharmacological mechanism

of action and putative calcium-connected disease pathology, including the following facts, show

that Prevagen is likely to have an efficacious effect: (1) Calcium plays a basic and critical role in

learning, and memory in the human brain; (2) Dysregulated, excess neuronal/hippocampal calcium

has objectively been shown in the literature whether by cause or as a biomarker in playing a

negative role in memory formation and several memory-related conditions; (3) Prevagen has been

shown to have four different calcium binding sites, each of which may work a) in combination or

b) separately to bind excess calcium; (4) Prevagen and/or its substrates and/or its metabolites may

exert pharmacological activity through calcium signaling binding sites; and (5) Prevagen has the

potential to be actively transported in part or whole through a) the gut through or b) into the CNS

via active transport via its three separate cholesterol binding sites.

       39.      I intend to rely on the published references and documents set forth in the Appendix

to support my opinions at trial.

       40.      A full copy of the rebuttal expert report I submitted in this Action is attached hereto

as Exhibit A.

       I declare under penalty of perjury under the laws of the United States of America that the



                                   D.
foregoing is true and correct.
                                                               Digitally signed
Executed on September       , 2022 in                      .
                                                               by D. Gortler

                                   Gortler
                                                               Date:
                                                        David Gortler,    2022.09.12
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                                     APPENDIX

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